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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/CENTER&gt;
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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. 03-96-00435-CR&lt;/CENTER&gt;
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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;Ex Parte: Lisa Ann Sumera, Appellant&lt;/CENTER&gt;
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&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE COUNTY COURT AT LAW NO. 1 OF HAYS COUNTY&lt;/CENTER&gt;
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&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times" STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. 43,319, HONORABLE HOWARD S. WARNER II, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
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&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;&lt;STRONG&gt;PER CURIAM&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/P&gt;

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&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;	Lisa Ann Sumera appeals from the county court at law's denial of habeas corpus relief. 
Tex. R. App. P. 44.  In a single point of error, appellant contends the court erred by holding that an
administrative driver's license suspension did not serve as a double jeopardy bar to her prosecution for
driving while intoxicated.&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;	The pending information accuses appellant of driving while intoxicated on February 25,
1995.  Following her arrest on that date, appellant took and failed a breath test for alcohol concentration. 
As a consequence, appellant's driver's license was suspended for sixty days.  Act of May 29, 1993, 73d
Leg., R.S., ch. 886, § 1, 1993 Tex. Gen. Laws 3515, 3516 (Tex. Rev. Civ. Stat. Ann. art. 6687b-1, since
amended and codified at Tex. Transp. Code Ann. ch. 524 (West 1996)).  Invoking recent opinions by the
United States Supreme Court, appellant contends that the suspension of her driver's license constituted
punishment for driving while intoxicated and bars further prosecution under the Double Jeopardy Clause. 
&lt;EM&gt;See Montana Dep't of Revenue v. Kurth Ranch&lt;/EM&gt;, 511 U.S. ___, 128 L. Ed. 2d 767 (1994); &lt;EM&gt;Austin v.
United States&lt;/EM&gt;, 509 U.S. ___, 125 L. Ed. 2d 488 (1993); &lt;EM&gt;United States v. Halper&lt;/EM&gt;, 490 U.S. 435, 440(1989); U. S. Const. amend. V.&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;	We recently reviewed the cited Supreme Court opinions and concluded that the
administrative suspension of a driver's license did not constitute punishment within the meaning of the
Double Jeopardy Clause and therefore did not bar prosecution for the same driving while intoxicated
offense.  &lt;EM&gt;Ex parte Arnold&lt;/EM&gt;, 916 S.W.2d 640 (Tex. App.--Austin 1996, pet. filed).  We found a clear
distinction between government attempts to forfeit property or raise revenue and those cases in which the
State attempts to suspend a driver's license.  &lt;EM&gt;Id&lt;/EM&gt;. at 642.  The holder of a driver's license possesses a
privilege rather than an interest in property and its suspension serves the remedial purpose of protecting
public safety.  &lt;EM&gt;Id&lt;/EM&gt;. at 643; &lt;EM&gt;and see United States v. Ursery&lt;/EM&gt;, ___ U.S. ___, 135 L. Ed. 2d 549, 571(1996) (civil forfeitures neither punishment nor criminal for purpose of double jeopardy analysis).  &lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;	For the reasons stated in &lt;EM&gt;Arnold&lt;/EM&gt;, the administrative suspension of appellant's driver's
license does not bar her prosecution for driving while intoxicated under the Double Jeopardy Clause.  We
overrule the point of error and affirm the order denying habeas corpus relief.&lt;/SPAN&gt;&lt;/P&gt;

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&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;Before Chief Justice Carroll, Justices Kidd and B. A. Smith&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;Affirmed&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;Filed:  October 16, 1996&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;&lt;SPAN STYLE="font-family: CG Times"&gt;Do Not Publish &lt;/SPAN&gt;&lt;/P&gt;

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